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                   IN THE UNITED STATES DISTRICT COURT                        FILED
                       FOR THE DISTRICT OF MONTANA                              JUL - 7 2017
                             BILLINGS DIVISION
                                                                             Clerk, U.S. District Court
                                                                                District Of Montana
                                                                                       Billings

  UNITED STATES OF AMERICA,
                                                   CR 16-107-BLG-SPW-7
                       Plaintiff,

  vs.                                               ORDER

  CHRISTINA KAMRAN-KOHNJANI,

                       Defendant.

        The Bureau of Prisons has designated Federal Detention Center-SeaTac as

the facility where Defendant Christina Kamran-Kohnjani will undergo an

evaluation to determine her competency to proceed in this matter.

        Accordingly, IT IS HEREBY ORDERED:

        1.   Christina Kamran-Kohnjani is remanded to the custody of the United

States Marshals Service for immediate transport to this facility.

        2.   The United States Marshals Service shall take no more than ten (10)

days each way to transport Christina Kamran-Kohnjani from the District of

Montana to the designated federal facility and to return Christina Kamran-

Kohnjani from the designated federal facility back to the District of Montana. See

18 U.S.C. § 3161(h)(l)(F).


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      3.   Christina Kamran-Kohnjani shall be committed to the facility and

subjected to a psychiatric or psychological examination to be conducted in

accordance with 18 U.S.C. §§ 424l(b) and 4247(b) and (c). The evaluation shall

be completed within thirty (30) days of Christina Kamran-Kohnjani's arrival at the

facility. 18 U.S.C. § 4247(b).

      4.   The report shall be filed with the Court, with copies to counsel for the

Defendant and the Government.

      5.   All time from the date of this Order until the date of the Court's

determination as to Christina Kamran-Kohnjani's competency is excludable under

the Speedy Trial Act. 18 U.S.C. § 316l(h)(l)(A) and (F).

      6.   The Clerk of Court is directed to immediately notify the parties and the

United States Marshals Service of the entry of this order.

      DATED this      ~VA-day of July, 2017~.
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                                              USANP. WATTERS
                                             United States District Judge




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